      Case 3:17-mj-00026-CMK Document 13 Filed 09/06/17 Page 1 of 2


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    DOUGLAS J. BEEVERS, # 288639
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     CHI MENG YANG
6
7                               IN THE UNITED STATES DISTRICT COURT
8                            FOR THE EASTERN DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,                  )   Case No. 3:17-mj-26 CMK
10                                              )
                            Plaintiff,          )   STIPULATION AND [PROPOSED] ORDER
11                                              )   TO CONTINUE DETENTION HEARING
           v.                                   )
12                                              )
     CHI MENG YANG,                             )   Date: August 9, 2017
13                                              )   Time: 9:00 a.m.
                            Defendant.          )   Judge: Hon. Craig M. Kellison
14                                              )
15
            IT IS HEREBY STIPULATED by and between Phillip A. Talbert, United States
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     Attorney, through Michael M. Beckwith, Assistant United States Attorney, attorney for Plaintiff,
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     and Heather Williams, Federal Defender, through Assistant Federal Defender Douglas J.
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     Beevers, attorney for Chi Meng Yang, that the detention hearing scheduled for September 7,
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     2017, at 2:00 p.m., be vacated and the matter continued to September 8, 2017, at 2:00 p.m.
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            Defense counsel requires additional time to prepare.
21
22   DATED: September 6, 2017
                                                 Respectfully submitted,
23
                                                 HEATHER E. WILLIAMS
24
                                                 Federal Defender
25
                                                 /s/ Douglas J. Beevers
26                                               DOUGLAS J. BEEVERS
                                                 Assistant Federal Defender
27                                               Attorney for CHRISTOPHER COPPIN
28

      Stipulation and Proposed Order                -1-
      Case 3:17-mj-00026-CMK Document 13 Filed 09/06/17 Page 2 of 2


1    DATED: September 6, 2017                     PHILLIP A. TALBERT
                                                  United States Attorney
2
                                                  /s/ Michael M. Beckwith
3                                                 MICHAEL M. Beckwith
                                                  Assistant U.S. Attorney
4                                                 Attorney for Plaintiff
5
                                                ORDER
6
            IT IS HEREBY ORDERED, the Court, having received, read, and considered the parties’
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     stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
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     its order. The Court specifically finds the failure to grant a continuance in this case would deny
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     counsel reasonable time necessary for effective preparation, taking into account the exercise of
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     due diligence. It is further ordered that the September 7, 2017 status conference detention
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     hearing shall be continued until September 8, 2017, at 2:00 p.m.
12
     DATED: September 6, 2017
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                                                           ________________________________
14
                                                           HON. EDMUND F. BRENNAN
15                                                         United States Magistrate Judge

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      Stipulation and Proposed Order                 -2-
